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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

JERRY NELSON and MICHELE DUSHANE, *

      Plaintiffs,                            *

vs.                                          *
                                                    CASE NO. 4:20-CV-213 (CDL)
CORRECTHEALTH MUSCOGEE LLC, et               *
al.,
                                             *
      Defendants.
                                             *

                                   O R D E R

      The   parties     entered    a   stipulation         of    dismissal      as   to

Plaintiffs’ claims against Jacqueline White (ECF No. 186).                           In

light of the stipulation of dismissal, White’s summary judgment

motion (ECF No. 159) is terminated as moot.                     Plaintiffs’ claims

against Healthcare Staffing, Inc. are based on White’s conduct,

and Healthcare Staffing filed a summary judgment motion seeking

to dismiss all of Plaintiffs’ claims against Healthcare Staffing

(ECF No. 138).      Plaintiffs did not oppose that summary judgment

motion; instead, “Plaintiffs agree that Healthcare Staffing has

no fault in this case.”         Pls.’ Mot. for Partial Summ. J. 2, ECF

No. 140.      Accordingly, Healthcare Staffing’s summary judgment

motion is granted, and Healthcare Staffing shall be terminated

as a Defendant in this action.

      Plaintiffs    filed      their   own       motion    for    partial    summary

judgment    regarding    Healthcare     Staffing          (ECF    No.   140).        In
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essence, Plaintiffs ask the Court for an advisory opinion on

whether fault may be apportioned to Healthcare Staffing.                  If the

remaining Defendants file in good faith a notice of intent to

apportion     fault    to   Healthcare      Staffing    despite      Healthcare

Staffing’s dismissal from this action, the Court will have to

decide whether it is appropriate to permit the Defendants to

raise the apportionment defense.           Unless that happens, the issue

is   not    properly   before    the   Court,    and   Plaintiffs’      partial

summary judgment on the matter (ECF No. 140) is terminated.

      IT IS SO ORDERED, this 4th day of May, 2022.

                                           s/Clay D. Land
                                           CLAY D. LAND
                                           U.S. DISTRICT COURT JUDGE
                                           MIDDLE DISTRICT OF GEORGIA




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